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                 IN THE UNITED STATES DISTRICT COURT
8            FOR THE SOUTHERN DISTRICT OF CALIFORNIA
9             (THE HONORABLE BARRY TED MOSKOWITZ)
10   UNITED STATES GOVERNMENT, ) Case No. 08CR-3681-BTM
                                  )
11             Plaintiff,         )
12       vs.                      ) ORDER GRANTING JOINT
                                  ) MOTION TO CONTINUE
13   JOHN LLOYD CONNOR,           ) SENTENCING
14             Defendant,         )
                                  )
15
                                  )
16                                )
17
18          IT IS HEREBY ORDERED, that the hearing presently set for October
19   7, 2009 at 11:45 a.m. be continued until
                                           il October 30, 2009 at 11:00 a.m.
20
     Dated: October 2, 2009                     _____________________________
                                                _______
                                                      ___________ ______________
21                                              HON.
                                                HON   BARRY
                                                   N. B              MOSKOWITZ
                                                        ARRY TED MOSKOW    WITZ
22                                              U.S.
                                                U S District Court Judge
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     Order Granting Joint Motion To Continue Sentencing, U.S. v. Connor, 08CR-3681-BTM
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